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                             UNITED STATED DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
                       BEFORE: CAROL BAGLEY AMON.U.S.D.J.


DATED; 1/17/20                TIME: 10:04am (10 mins.)                          I


CRIMINAL CAUSE FOR: Status Conference


DOCKET#: CRl9-00366


DEFENDANT: Salvatore Zapeda                         ATTORNEY:


DEFENDANT:                                         ATTORNEY:


DEFENDANT:                                         ATTORNEY:




ASSISTANT U.S. ATTORNEY: Craig Heeren

COURT REPORTER: Victoria Torres-Butler


INTERPRETER:


PROBATION OFFICER:


PRETRIAL OFFICERS:                                        DEPUTY: T. Campbell


Deft is still a fugitive.
The govt does not have a time table for deft arrest.
Govt is working on different options to apprehend deft.
Further status conference is set for 7/17/20 at 10 am.
